        Case 1:21-cv-02524-DLB Document 94-1 Filed 02/24/23 Page 1 of 16



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  Baltimore Division

ESTATE OF HENRIETTA LACKS,                    *

       Plaintiff,                             *

v.                                            *       Civ. No. DLB-21-02524

THERMO FISHER SCIENTIFIC, INC. *

       Defendant.                             *

                                              *

   AMICUS CURIAE BRIEF OF LAW PROFESSOR SUZETTE MALVEAUX IN
 SUPPORT OF PLAINTIFF THE ESTATE OF HENRIETTA LACKS’S OPPOSITION
  TO DEFENDANT’S MOTION TO DISMISS SECOND AMENDED COMPLAINT

       COMES NOW Amicus Curiae (“Amicus”) Law Professor Suzette M. Malveaux, J.D., by

and through counsel, Michael J. Winkelman and the law firm of McCarthy, Winkelman, Mester

& Offutt, L.L.P., in support of Plaintiff’s Opposition to Defendant’s Motion to Dismiss Second

Amended Complaint, who states as follows:

                                      I. INTRODUCTION

       Professor Malveaux offers unique expertise and analysis in support of the Plaintiff as to

why its Second Amended Complaint should not be dismissed on untimeliness grounds.

Professor Malveaux is the Moses Lasky Professor of Law and Director of the Byron R. White

Center for the Study of American Constitutional Law at the University of Colorado. She is an

expert in civil procedure, complex litigation and civil rights and has taught these subjects over

the course of almost twenty years. She has published several articles in leading law reviews on

access to justice and the impact of procedural mechanisms (including statutes of limitations,




                                                  1
         Case 1:21-cv-02524-DLB Document 94-1 Filed 02/24/23 Page 2 of 16



pleadings, class actions and arbitration) on civil rights enforcement.1 She is co-editor of A Guide

to Civil Procedure; Integrating Critical Legal Perspectives (NYU Press, 2022) and co-author of

Class Actions and Other Multi-Party Litigation; Cases and Materials (West, 2006, 2012). She is

a member of the American Law Institute and former Chair of the American Association of Law

Schools Civil Procedure Section.

        For a half dozen years, she served as pro bono counsel for the victims of the Tulsa Race

Massacre of 1921 in the constitutional case brought against the city of Tulsa and the state of

Oklahoma, which resulted in the court’s tolling the three-year statute of limitations for over forty

years.2 Her seminal article, Statutes of Limitations: A Policy Analysis in the Context of

Reparations Litigation, 74 Geo. Wash. L. Rev. 68 (2005), was entered into the Congressional

record, at the Senate Judiciary Committee Chair’s request, in support of subsequent tolling

legislation.

        Prior to entering academia, Professor Malveaux was a class action specialist and civil

rights lawyer. She graduated magna cum laude from Harvard University and earned her J.D.

from NYU School of Law, where she was a Root-Tilden Scholar and editor of the Law Review.

        The parties and their counsel neither funded the preparation and submission of the brief,

nor authored the brief in whole or in part.




1
        See, e.g., Is It Time for a New Civil Rights Act? Addressing Modern Obstructionist Procedure, 63
B.C. L. Rev. 1 (2022) (lead article); Class Actions, Civil Rights, and the National Injunction, 131 Harv. L.
Rev. F. 56 (2017); Front Loading and Heavy Lifting; How Pre-Dismissal Discovery Can Address the
Detrimental Effect of Iqbal on Civil Rights Cases, 14 LEWIS & CLARK L. REV. 65 (2010).
2
        Alexander v. Oklahoma, No. 03-C-133-E, 2004 U.S. Dist. LEXIS 5131 (N.D. Okla. Mar. 19, 2004), aff’d,
382 F.3d 1206 (10th Cir. 2004).




                                                      2
        Case 1:21-cv-02524-DLB Document 94-1 Filed 02/24/23 Page 3 of 16



                                       II. LEGAL ARGUMENT

        A.      Plaintiff’s Unjust Enrichment Claims Are Not Barred on the Face of the
                Complaint

        Under either the separate accrual doctrine or the continuing harm doctrine, Plaintiff’s

unjust enrichment claims accrued within the three-year limitations period and are timely, thereby

making dismissal inappropriate here.3 Central to the question of whether a claim is time barred

is identifying a legally cognizable harm and when it took place. See, e.g., Cain v. Midland



3
         Amicus initially suggests it is premature to determine whether Plaintiff’s case is timely as
discovery is necessary to make this determination. It is well-established law that the statute of limitations
should only be resolved pursuant to a Rule 12(b) motion to dismiss under “rare” circumstances.
“Ordinarily, [this] defense . . . is not considered in the context of a motion to dismiss.” ARCO Nat’l
Constr., LLC v. MCM Mgmt. Corp., No. ELH-20-3783, 2021 WL 4148456 at *13 (D. Md. Sept. 10,
2021). This is not the rare case where all of the facts (publicly available or otherwise) foreclose the case
from going forward at the pleading stage because of the statute of limitations.
         At the pleading stage, the plaintiff need only show on the face of the complaint that its claims are
plausible, not probable. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 548 (2007); Ashcroft v. Iqbal, 556
U.S. 662, 678 (2009). When determining a 12(b)(6) motion to dismiss, the Court may consider only the
allegations set forth in the complaint (Zak v. Chelsea Therapeutics Int’l Ltd., 780 F.3d 597, 606 (4th Cir.
2015)), and must assume the veracity of all factual allegations, drawing all reasonable inferences from
such allegations in plaintiff’s favor. Ceccone v. Carroll Home Servs., LLC, 454 Md. 680, 691 (2017).
         Plaintiff’s complaint does more than simply recite legal conclusions and bare assertions. Nemet
Chevrolet, Ltd. v. Consumeraffairs.com, Inc., 591 F.3d 250, 255-56 (4th Cir. 2009). Instead, the
complaint’s well-pleaded facts tell a compelling story about how Thermo Fisher receives billions of
dollars in revenue from the acquisition, cultivation, and sale of products wrongly derived from the HeLa
cell line, without providing Henrietta Lacks’s family any compensation—a longstanding practice that
continues to date.
         Defendant, on the other hand, has failed to meet its burden of demonstrating that “the time bar is
apparent on the face of the complaint.” Litz v. Maryland Department of the Environment, 76 A.3d 1076,
1086 (Md 2013); Ott v. Md. Dep’t of Pub. Safety & Corr. Servs., 909 F.3d 655, 658 (4th Cir. 2018);
Goodman v. PraxAir, Inc., 494 F.3d 458, 464 (4th Cir. 2007). Even if the Court takes judicial notice of
some of Defendant’s proffered facts outside the complaint, they are insufficient to answer the timeliness
question. While Defendant cherry picks public records preceding the three-year limitations period,
evidence in the public record also indicates that sales were made within Maryland’s three-year statute of
limitations. See Plaintiff’s Opp. to Def.’s Mot. to Dismiss SAC, at 29 (“TFS . . . relied on a 2014 U.S.
General Service Administrative (‘GSA’) contract (notably with a March 2024 end date) . . . .”). The
Court itself has noted that it could benefit from additional information to discern the appropriate accrual
date for determining timeliness. See MTD Transcript at 58:18-59:1 (“I don’t know when the one claim
alleged has accrued.”).
         The statute of limitations defense should be considered only after discovery to afford the parties
the opportunity to test and prove the validity of their initial allegations and defenses.




                                                      3
        Case 1:21-cv-02524-DLB Document 94-1 Filed 02/24/23 Page 4 of 16



Funding, LLC, 475 Md. 15-16, 61 (2021) (claim untimely when wrong was collection agency

filing action against plaintiffs without license, not garnishment of wages in limitations period

once agency was licensed). An unjust enrichment claim occurs when there is: “1) a benefit

conferred on the defendant by the plaintiff; 2) knowledge by the defendant of the benefit; and 3)

retention by the defendant of the benefit under such circumstances as to make it inequitable for

defendant to retain the benefit without payment of its value.” Sensormatic Sec. Corp. v.

Sensormatic Electronics Corp., 249 F. Supp. 2d 703, 708 (D. Md. 2003) (denying dismissal of

unjust enrichment claim); see also Haley v. Corcoran, 659 F. Supp. 2d 714, 724 (D. Md. 2009)

(defining unjust enrichment).

       Plaintiff alleges that Thermo Fisher was conferred the benefit of Henrietta Lacks’s cell

line, that Thermo Fisher knew of this benefit, and that Thermo Fisher unfairly retained the

benefit without providing payment to the Lacks family. Moreover, Plaintiff contends that this

wrongful conduct has been going on for years, within the three-year limitations period and

beforehand. Thus, on the face of the complaint, Plaintiff’s unjust enrichment claims would be

viable. Alternatively, Plaintiff may proceed on a theory that an unjust enrichment claim does not

ripen until an accumulation of wrongful acts has occurred, which pushes accrual within the

limitations period.

                                  1. Separate Accrual Doctrine

       The claim of unjust enrichment forecloses dismissal on untimeliness grounds because

Defendant harmed Plaintiff within the three-year limitations period each time it wrongfully

profited from the cultivation and sale of HeLa cells. The question of when an action may be

brought (i.e. accrues) is one of judicial interpretation (Cain, 475 Md. at 35), although factual

determinations are usually made by the factfinder and not the court as a matter of law. Litz v.




                                                 4
        Case 1:21-cv-02524-DLB Document 94-1 Filed 02/24/23 Page 5 of 16



Maryland Department of the Environment, 76 A.3d 1076, 1086 (Md 2013). The separate accrual

doctrine applies where “the law forbids a discrete act, as most do.” Phreesia, Inc. v. Certify

Glob., Inc., 2022 WL 911207 at *27 (D. Md. Mar. 29, 2022); Coakley & Williams, Inc. v.

Shatterproof Glass Corp., 706 F.2d 456, 463 (4th Cir. 1983); see, e.g., Petrella v. Metro-

Goldwyn-Mayer, Inc., 572 U.S. 663, 671 (2014) (each unauthorized copying was a discrete act

that triggered separate accrual of claim under copyright law); Johnson v. Silver Diner, Inc., 2019

WL 3717784 at *17 (D. Md. Aug. 7, 2019) (each wage and hour violation accrues separately for

limitations purposes, so those within limitations period were timely and those before were stale

but admissible, relevant evidence).

       The law of unjust enrichment forbids the discrete act of knowingly retaining a benefit to

which one is not equitably entitled without providing just compensation. Each ill-gotten gain

constitutes its own cognizable harm and catalyzes its own cause of action. Thus, under unjust

enrichment, each time Defendant knowingly profits from the HeLa cell line without

compensating Plaintiff constitutes a separate violation and sets in motion—subject to the

discovery rule—Plaintiff’s capacity to bring suit within three years. Defendant contends that

Plaintiff should have brought suit for unjust enrichment earlier, upon first learning that Henrietta

Lacks’s cells were wrongly taken from her or, alternatively, upon first learning that

pharmaceutical companies were wildly profiting from the HeLa cell line. See Def.’s Mem. Supp.

Mot. to Dismiss at 10-16; Def.'s Mot. to Dismiss SAC at 19–20.

       However, because a claim for unjust enrichment accrues each time Defendant wrongly

retains ill-gotten profits, Plaintiff is permitted to bring suit within three years from each

retention, regardless of when Plaintiff first became aware of the wrongdoing. Plaintiff does not

challenge the downstream effects of one illegal act that occurred over seventy years (i.e., the




                                                   5
        Case 1:21-cv-02524-DLB Document 94-1 Filed 02/24/23 Page 6 of 16



unlawful taking of Henrietta Lacks’s genetic material in 1951), but current illegal acts today (i.e.,

the continuing cultivation, mass production and sale for profit of such material without just

compensation to Lacks’s family). Thus, under the separate accrual doctrine, each of Plaintiff’s

unjust enrichment claims within the three-year limitations period is timely.

                                  2. Continuing Harm Doctrine

        The Court may apply the continuing harm doctrine to permit Plaintiff’s unjust enrichment

claims within the three-year limitations period to proceed. Where a defendant sequentially

breaches a continuing duty, a plaintiff may timely bring a claim for each breach of that duty.

Cain, 475 Md. at 49; see, e.g., Shell Oil Co. v. Parker, 265 Md. 631, 636 (1972) (where there

was ongoing fraud committed from initial false statement on billboard that went into three-year

limitations period, such claims of fraud were viable under continuing harm doctrine); Litz, 76

A.3d at 1079 (where ongoing illegal toxic dumping caused continuous injury over extended

period of time, claims of negligence, trespass and inverse condemnation were within limitations

period); Bodner v. Banque Paribas, 114 F. Supp. 2d 117, 134-35 (E.D.N.Y. 2000) (where Nazis’

and their accomplices’ refusal to return property misappropriated during World War II continued

up to filing of plaintiffs’ lawsuit over a half century earlier, limitations period did not expire);

Hanover Shoe v. United Shoe Mach. Corp., 392 U.S. 481, 502 n.15 (1968) (although plaintiff

“could have sued in 1912 for the injury then being inflicted, it was equally entitled to sue in

1955” in anti-trust case).

        The linchpin to the theory’s application is whether the “violation or the wrongful act is

ongoing or continuing in nature (as opposed to the continued ill effects from the original alleged

violation).” Cain, 475 Md. at 51; see, e.g., MacBride v. Pishvaian, 402 Md. 572, 576, 584 (2007)

(rejecting continuing harm doctrine where apartment’s deterioration over time was the




                                                   6
         Case 1:21-cv-02524-DLB Document 94-1 Filed 02/24/23 Page 7 of 16



“continuing ill effects” from original violation and not a “series of acts or course of conduct”);

Duke Street v. Bd. of Commissioners of Calvert Co., 112 Md. App. 37, 52 (1996) (rejecting

doctrine where constitutional takings claim did not allege series of acts or course of conduct into

the limitations period); Litz, 76 A.3d at 1079, 1087-1089 (permanent nuisance claims were

barred by statute of limitations, while temporary nuisance claims were distinct “successive

actions” that each created a new cause of action triggering a new statute of limitations).

         Here, Plaintiffs allege that Thermo Fisher continues to acquire, cultivate, produce and sell

products derived from the HeLa cell line, unjustly enriching itself at the expense of the Lacks

family. Defendant made a choice each time it retained its ill-gotten gains without compensating

the Lacks family. Under the continuing harm doctrine, the wrongful conduct within the

limitations period is timely irrespective of prior wrongful conduct. Cain, 475 Md. at 51. This

Court has concluded that the theory is available for unjust enrichment claims. AAA Antiques

Mall, Inc. v. Visa U.S.A. Inc., 558 F. Supp. 2d 607, 610 n.4 (D. Md. 2008) (Motz, J.) (concluding

that unjust enrichment claims, not otherwise defective, were viable in the three-year limitations

period).4 Later unjust enrichment claims were “not barred by the statute of limitations merely

because one of them occurred earlier in time.” Id.



4
          The Court, however, referenced the “continuing violation” doctrine as the basis for permitting the unjust
enrichment claims within the three-year statute of limitations. Id. (emphasis added). The Court’s description of the
“continuing violation” doctrine is identical to the “continuing harm” doctrine. Id. Similarly, the Court has recently
equated “continuing or continuous violations” with “multiple, discrete acts that accrue separately” and distinguished
them from “a cumulative violation, where multiple acts are necessary to create one violation.” Phreesia, 2022 U.S.
Dist. LEXIS 56856 at *28 (emphasis added).
          The nomenclature has created confusion, as some courts use the terms “continuing violation” doctrine and
“continuing harm” doctrine interchangeably, while other courts use the term “continuing violation” doctrine to refer
to what Judge Posner more precisely calls the “cumulative violation” doctrine. See Limestone Dev. Corp. v. Village
of Lemont, 520 F.3d 797, 801 (7th Cir. 2008) (Posner, J.); see, e.g., Blake v. JP Morgan Chase Bank NA, 927 F.3d
701, 706 (3d Cir. 2019) (contrasting separate accrual doctrine with continuing violations doctrine); Malveaux at 88
(citing the Supreme Court and using “continuing violations” doctrine to describe court treatment of series of acts of
misconduct as one continuous one that ends prior to the limitations deadline). This amicus brief distinguishes
between the continuing harm doctrine and the continuing violations doctrine.




                                                          7
        Case 1:21-cv-02524-DLB Document 94-1 Filed 02/24/23 Page 8 of 16



                                3. Continuing Violation Doctrine

       The Plaintiff here has alleged, in the alternative, that its unjust enrichment claims are

timely under the continuing violation doctrine. To the extent that Plaintiff has used the

nomenclature “continuing violation” doctrine to describe the “continuing harm” doctrine, as this

Court and others do, the analysis above applies.

       The continuing violation doctrine (sometimes called the cumulative violation doctrine),

also refers to when the statute of limitations is tolled to cover an entire course of conduct because

it is the cumulative effect of wrongful acts that forms the basis of the cause of action and creates

an actionable injury. See fn. 4. This amicus brief uses the term “continuing violation” doctrine

when describing this option. “Not all wrongs are discrete wrongs” but instead are “diffuse and

comprise many acts over a period of time.” Blake v. JP Morgan Chase Bank, N.A., 927 F.3d 701,

706 (3d Cir. 2019). Some courts call these “continuing violations” because a continuous series

or accumulation of wrongful acts over time is necessary to create a single legally cognizable

claim. Id. A plaintiff may timely file its lawsuit for wrongful acts that occurred not only inside

the limitations period, but also those that predated the limitations period that comprise its claim.

Id. (citation omitted). A classic example of this is a hostile work environment claim, which may

not accrue until several acts of misconduct have occurred. See Nat’l R.R. Passenger Corp. v.

Morgan, 536 U.S. 101, 115, 117-18 (2002). Thus, an alternative way for Plaintiff to survive a

time bar is alleging that Thermo Fisher’s continuous wrongful acts (acquisition, cultivation,

production and sale of HeLa cells) over time constitute unjust enrichment, which ultimately

accrued within the three-year limitations period.

       In sum, Plaintiff alleges that Maryland courts—under varied doctrine—forbid an ongoing

course of misconduct from being time-barred. Plaintiff’s Opp. To Def.’s Mot. To Dismiss SAC




                                                   8
        Case 1:21-cv-02524-DLB Document 94-1 Filed 02/24/23 Page 9 of 16



at 32. Of course, it is Plaintiff’s prerogative to allege alternative theories at the pleading stage.

It seems clear from the face of the complaint that the timeliness issue is not predetermined and

that discovery would be fruitful at this juncture.

       B.      Tolling is Appropriate Because the Rationales for the Statute of Limitations
               Are Not Served Here, While Its Exceptions Are

       Maryland courts recognize three exceptions to the application of the three-year statute of

limitations for civil actions: 1) when another statute of limitations applies; 2) when there is a

continuing harm; and 3) when tolling is appropriate. Cain, 475 Md. at 38-39. The first

exception is inapplicable. The Maryland legislature has chosen not to limit the viability of an

unjust enrichment claim as it has done for other claims. See, e.g., Wyne v. Medo Indus. Inc., No.

RDB-02-CV-1812, 2004 WL 3217860 at *4-7 (D. Md. Mar. 25, 2004) (MD Uniform Trade

Secrets Act defines first discovered or discoverable misappropriation of trade secret as trigger for

accrual and continuing misappropriation as a single claim, so claim was time-barred). The

second exception is discussed above. The third exception is discussed below.

       To be sure, statutes of limitations serve several important functions in our legal system.

See M. Abraham Ahmad v. Eastpines Terrace Apts., Inc. 200 Md. App. 362, 372 (2011). They

enhance fairness to the defendant, promote efficiency, and bolster institutional legitimacy.

Suzette Malveaux, Statutes of Limitations: A Policy Analysis in the Context of Reparations

Litigation, 74 Geo. Wash. L. Rev. 68, 75, 79, 81 (2005). Filing deadlines often balance

competing interests such as merits determinations with institutional pragmatism (Malveaux at 91

n. 146), and justice with expediency. Malveaux at 79 n. 60.

       However, statutes of limitations are neither immutable (Ceccone, 454 Md. at 692), nor

sacrosanct (Cain, 475 Md. at 38). While an even-handed, consistent judicial application of




                                                     9
       Case 1:21-cv-02524-DLB Document 94-1 Filed 02/24/23 Page 10 of 16



administrative standards is important, equally critical is judicial discretion exercised equitably

and justly. Statutes of limitation are creatures of choice. The legislature has the power whether

or not to create them, and the courts have the discretion whether or not to enforce them. In a

nutshell, “[t]he shelter of statutes of limitations is not guaranteed and has come into law by

legislative grace, not as a natural right.” Malveaux at 92; Bendix Autolite Corp. v. Midwesco

Enters., Inc., 486 U.S. 888, 893 (1988). Courts have tolled statutes of limitations when the

underlying rationales for the limitations period are not being served (Am. Pipe & Constr. Co. v.

Utah, 414 U.S. 538, 555 (1974); Cain, 475 Md. at 61-62) or when “extraordinary circumstances”

countenance otherwise (Hardin v. Straub, 490 U.S. 536, 543-44 (1989)). Both of these

justifications exist in this case. See also Cain, 475 Md. at 38 (exceptions to statutes of

limitations must have compelling reasons).

       First, one of the major rationales for statutes of limitations is protecting fairness to the

defendant, exhibited by: (a) providing defendant repose; (b) giving defendant sufficient notice to

collect accurate evidence; and (c) discouraging plaintiff misconduct. Malveaux at 75. However,

none of these goals are served by dismissing Plaintiff’s unjust enrichment claim here.

       A filing deadline creates a well-settled expectation in defendant’s mind that it will be safe

from suit, regardless of merit, and will be able to structure its affairs going forward with peace of

mind. Such repose is meant to “prevent[] surprises through the revival of claims that have been

allowed to slumber.” Order of R.R. Telegraphers v. Ry. Express Agency, Inc., 321 U.S. 342,

348-49 (1944). However, prioritizing a defendant’s expectation of repose is not appropriate

where it is arguably on notice that a lawsuit might be forthcoming. Here, Thermo Fisher has

long been aware of the unethical origins of the HeLa cells, and has chosen to continually acquire,

cultivate and profit from the cell line without the family’s consent or compensation. The




                                                 10
       Case 1:21-cv-02524-DLB Document 94-1 Filed 02/24/23 Page 11 of 16



company cannot credibly argue that it was caught by surprise or that its settled expectations were

altered when Plaintiff filed suit for Defendant’s ongoing unjust enrichment. Moreover, given the

major media expose of the theft of Henrietta Lacks’s cells, the impact of the “immortal” cell line

on much of modern medicine, and the billions of dollars being made by pharmaceuticals to this

day, Thermo Fisher would be hard pressed to contend that it did not anticipate and prepare for a

Lacks lawsuit.

       Another fairness-to-defendant justification that does not apply in this case is concern

about evidence preservation and spoliation. Defendant contends that it is disadvantaged by

witnesses dying and evidence fading in light of Plaintiff’s recent filing. More specifically,

Thermo Fisher alleges that it needs access to doctors who are now deceased to determine if the

circumstances under which they acquired Henrietta Lacks’s cells were “actually unjust”—a fact

that seems universally accepted at this point. See Mot. To Dismiss Hearing Transcript at 48-49.

While it is true that the passage of time can compromise dependable evidence, this is mitigated

by the fact that much of what Thermo Fisher needs to defend itself from an unjust enrichment

claim—i.e., data regarding acquisition, cultivation, sales and profit—is likely in its possession.

This is especially true where Plaintiff challenges Defendant’s current and ongoing practice of

profiting from the HeLa cell line. Moreover, advances in technology and communications have

enhanced data preservation, retention and retrieval. At a minimum, the parties would benefit

from discovery. There is minimal risk of spoliation of evidence or stale evidence compromising

Thermo Fisher’s defense. See, e.g., Stone v. Williams, 891 F.2d 401, 405 (2d Cir. 1989) (“They

should not now be allowed to claim that they are prejudiced by plaintiff's present assertion of her

rights when they were aware of them all along.").




                                                 11
       Case 1:21-cv-02524-DLB Document 94-1 Filed 02/24/23 Page 12 of 16



        A final example of the fairness-to-defendant rationalization’s falling short is its use to

curtail plaintiff misconduct. Here, there is little, if any, threat of plaintiff mischief. As

mentioned, the highly public expose—from acclaimed book5 to Oprah-starring HBO movie to

media tour—would make it highly unlikely that Plaintiff could bring a fraudulent claim.

Plaintiff’s identity and injuries, as well as Defendant’s identity and alleged causation, are clear.

Such clarity largely erases the possibility of fraudulent claims or litigation by ambush.

Moreover, Defendant may argue that Plaintiff failed to exercise due diligence by not filing

earlier or cherry-picked the time to bring the case, in contravention of the limitations period.

However, this argument is unavailing where Plaintiff challenges a current practice—unjust

enrichment from the acquisition, cultivation, and sale of HeLa cells without Lacks family

consent or remuneration today.

        Second, another primary reason for statutes of limitation is their efficiency. Limitations

periods can (a) reduce costs related to evidentiary concerns and uncertainty; (b) clear burgeoning

federal court dockets; and (c) simplify decisions through the application of a bright-line,

although arbitrary cutoff. Malveaux at 79. However, as discussed above, it is not clear here that

the evidentiary concerns are substantial enough to result in significant cost reduction.

Additionally, using filing deadlines to shrink mushrooming federal dockets is ineffective for a

case like this one, whose facts are so unique and extraordinary as to have a nominal impact on

caseload. Finally, a bright-line test is admittedly easy to administer, but fails as a means of

quality control. Filing deadlines are inefficient gatekeepers, doing a poor job of culling frivolous

cases. Malveaux at 112. Given the system’s preference for merits determinations,




5
        Rebecca Skloot, The Immortal Life of Henrietta Lacks (Random House, 2010).




                                                    12
       Case 1:21-cv-02524-DLB Document 94-1 Filed 02/24/23 Page 13 of 16



administrative ease should yield here. Just because the Lacks case is being brought now does not

diminish its strength or importance.

       Third, statutes of limitations bolster the legal system’s legitimacy through the trans-

substantive application of a procedural norm. Malveaux at 81-21. To be sure, equal treatment

across claims and claimants assures litigants that they are being treated the same under the law.

However, this formal equality masks important differences. Malveaux at 117. A rigid

application of filing deadlines risks glossing over those cases and circumstances in which equity

and justice would demand court access, irrespective of the deadline. While Plaintiff’s case

involves initial misconduct by others (doctors’ theft of Henrietta Lacks’s cells) over seventy

years ago, Thermo Fisher’s own continuous and current wrongful acts and the gross unethical

treatment of the cell line throughout constitute strong grounds for equitable principles to apply.

Thus, a wooden application of limitations periods here may spark disillusionment and

dissatisfaction with the judicial system, calling its legitimacy into question. Malveaux at 84.

      Under the equitable tolling doctrine, federal courts have also stopped the limitations clock

from running when equity demands. Young v. U.S., 535 U.S. 43, 49 (2002) (“It is hornbook law

that limitations periods are customarily subject to equitable tolling . . .”). There are several

reasons for equitable tolling, including the presence of “extraordinary circumstances.” For

example, where victims of the Tulsa Race Massacre of 1921 brought a constitutional claim

against the city of Tulsa and state of Oklahoma roughly eighty years after the massacre, the

federal court tolled the two-year statute of limitations for over forty years, up to the end of the

Jim Crow era. Alexander v. Oklahoma, No. 03-C-133-E, 2004 U.S. Dist. LEXIS 5131 at *30-32

(N.D. Okla. Mar. 19, 2004), aff’d, 382 F.3d 1206 (10th Cir. 2004). Evidence of “intimidation,

fear of a repeat of the riot, inequities in the justice system, Klan domination in the courts, and the




                                                 13
       Case 1:21-cv-02524-DLB Document 94-1 Filed 02/24/23 Page 14 of 16



era of Jim Crow” amounted to “extraordinary” and “exceptional” circumstances that justified

equitable tolling. Id. at *30-31. Other courts have tolled the limitations periods for claims

brought for Holocaust-related violations decades later, in part, because of the exceptional nature

of the circumstances. See, e.g., Rosner v. U.S., 231 F. Supp. 2d 1202, 1203-04, 1208-1209 (S.D.

Fla. 2002); Bodner v. Banque Paribas, 114 F. Supp. 2d 117, 121, 135 (E.D.N.Y. 2000). The

“brutal reality of the Holocaust, and the resulting extraordinary circumstances that Plaintiffs

were forced to endure” played an important part in the court’s equitable tolling analysis. Rosner,

231 F. Supp. ed at 1208; see also Hoang Van Tu v. Koster, 364 F.3d 1196, 1199-1200 (10th Cir.

2004) (court concluded some equitable tolling appropriate for survivors and descendants of

Vietnam War massacre based on their “poverty, their status as subjects of a Communist

government, the Vietnam War, and their inability to travel”).

        Similarly, here the circumstances under which Plaintiff brings this case are extraordinary.

Henrietta Lacks had her cells extracted from her without her knowledge or consent, those cells

went on to live indefinitely to form the basis of much of modern medicine, and Thermo Fisher

has made (and will continue to make) billions of dollars to this day off of the cell line without

providing any remuneration to the Lacks family. These circumstances are so exceptional as to

justify equitable tolling.

        While it is true that some of the egregious facts may have come to light to the Lacks

family some time ago (and admittedly before the three-year statute of limitations period),

appreciation of a legally cognizable claim is not as apparent, as evidenced by the procedural

complexities of the instant lawsuit. Similarly, it can take time for society itself to recognize the

capacity of law to redress a harm. See Mari Matsuda, Looking to the Bottom: Critical Legal

Studies and Reparations, 22 Harv. C.R.-C.L. L. Rev. 323, 381 (1987) (“[T]he need for




                                                 14
       Case 1:21-cv-02524-DLB Document 94-1 Filed 02/24/23 Page 15 of 16



reparations arises precisely because it takes a nation so long to recognize historical wrongs

against those on the bottom. Something other than a rigid conception of timeliness is required.”).

This court itself has recognized the exceptional nature of this case. See Mot. To Dismiss Hearing

Transcript at 23.

      Statutes of limitation are arbitrary, political creations that reveal not only practical

considerations but societal values. Malveaux at 121-22. As advantageous as filing deadlines can

be, they also have several exceptions that reflect the civil litigation system’s interest in merits

determinations and fairness to the plaintiff. Malveaux at 83. For example, one of the most

compelling reasons for foregoing the deadline is to preserve a plaintiff’s proverbial right to their

“day in court.” Malveaux at 82. Court access is particularly important for vulnerable groups.

Malveaux at 84. Between the Constitution’s due process requirement (U.S. CONST. amend. XIV,

§ 1) and Marbury v. Madison’s promise to provide a remedy where there is an injury, (5 U.S. (1

Cranch) 137, 163 (1803)) there is little room for a rigid time bar. Limitations exemptions

prevent defendants from escaping liability based on a “mere technicality,” and instead preference

law enforcement and deterrence goals. Procedure serves substance, and not vice versa. Thus,

exemptions ensure fairness for the plaintiffs and disincentivize defendant misconduct and

windfalls.

      Given these countervailing values, it becomes much less of a stretch to toll a three-year

statute of limitations so that the Lacks family may be provided an opportunity to be heard on the

merits, not only for the injustices of the past three years but of the decades prior. The courts

have the power and discretion to be nimble when justice requires, as it does here.

                                      III. CONCLUSION

      Accordingly, this Court should deny Defendant’s Motion to Dismiss.




                                                15
          Case 1:21-cv-02524-DLB Document 94-1 Filed 02/24/23 Page 16 of 16




                                                   _________________________________
                                                   Suzette Malveaux
                                                   Moses Lasky Professor of Law
                                                   Director, Byron R. White Center for the
                                                   Study of American Constitutional Law
                                                   University of Colorado Law School
                                                   2450 Kittredge Loop Dr
                                                   Boulder, CO 80309
                                                   suzette.malveaux@colorado.edu


                                                   MCCARTHY, WINKELMAN, MESTER
                                                   & OFFUTT, L.L.P.



                                            By:    _________________________________
                                                   Michael J. Winkelman, Bar No. 13815
                                                   4300 Forbes Boulevard, Suite 205
                                                   Lanham, MD 20706-4314
                                                   301-262-7422
                                                   301-262-0562 (fax)
                                                   mwinkelman@mwmlawyers.com


                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 24th day of February, 2023, a copy of the foregoing

was filed via the CM/ECF system which shall cause the same to be e-served on all counsel of

record.



                                                   __________________________________
                                                   Michael J. Winkelman




                                              16
